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 Presbyterian Hospital s/h/a New York
 Presbyterian Hospital
                     UNITED STATES DISTRICT COURT
                    FOR THE DISTRICT OF NEW JERSEY

 LOUIS J. DECOSMO                                   No. 22-cv-7509
                                Plaintiff,
                                                    NOTICE OF NEW YORK
                      v.                            PRESBYTERIAN
 NEW YORK PRESBYTERIAN                              HOSPITAL’S MOTION TO
 HOSPITAL                                           DISMISS PLAINTIFF’S
                                                    COMPLAINT
                                Defendant.          Judge Susan D. Wigenton

                                                    Motion Day: May 1, 2023

       PLEASE TAKE NOTICE that Defendant The New York Presbyterian

 Hospital s/h/a New York Presbyterian Hospital, by its undersigned attorneys, shall

 move this Court, before the Honorable Susan D. Wigenton, at the Martin Luther

 King Building & U.S. Courthouse located at 50 Walnut Street, Room 5C, Newark,

 NJ 07101, for an order, pursuant to Federal Rules of Civil Procedures 12(b)(2) and

 12(b)(6), dismissing Plaintiff’s Complaint (Dkt. 1).
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 Dated: February 27, 2023                 Respectfully submitted,


                                          By:   /s/ Alison R. Benedon

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